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     1RFY56/                                                              6HDWWOH:DVKLQJWRQ
     3DJHL                                                                            7HO[
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     1RFY56/                                                                                         6HDWWOH:DVKLQJWRQ
     3DJHLL                                                                                                     7HO[
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    Defense Distributed v. U.S. Department of State
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   Friedman v. City of Highland Park, Illinois
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   National Rifle Association v. Bureau of Alcohol, Tobacco, Firearms, and
        Explosives
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     Pena v. Lindley
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   Skokomish Indian Tribe v. Goldmark
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                Case 2:18-cv-01115-RSL Document 98 Filed 08/29/18 Page 4 of 19
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    United States v. Fincher
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    United States v. Lopez
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    United States v. Mazzarella
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     Undetectable Firearms Act Extension3/6WDW
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   $QG\*UHHQEHUJMeet The “Liberator”: Test-Firing The World’s First Fully 3D-
        Printed Gun)RUEHV0D\
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     LQ6XSSRUWRI3ODLQWLIIV¶0RWLRQIRU3UHOLPLQDU\,QMXQFWLRQ                                           6HFRQG$YHQXHWK)ORRU
     1RFY56/                                                                                       6HDWWOH:DVKLQJWRQ
     3DJHLY                                                                                                   7HO[
                Case 2:18-cv-01115-RSL Document 98 Filed 08/29/18 Page 5 of 19
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    The Constitution And The 3D Printed Plastic Pistol7HFK&UXQFK0D\
        KWWSVWHFKFUXQFKFRPWKHFRQVWLWXWLRQDQGWKHGSULQWHG
       SODVWLFSLVWRO
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     3DJHY                                                                                                     7HO[
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     LQGLYLGXDOVZKRDUHFRQFHUQHGZLWKDQGDIIHFWHGE\SXEOLFKHDOWKDQGVDIHW\LVVXHVVWHPPLQJ
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     IURPJXQYLROHQFH7KH%UDG\&HQWHUKDVDVXEVWDQWLDOLQWHUHVWLQHQVXULQJWKDWWKH6HFRQG
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     DSSOLFDEOHUXOHVIRXQGLQWKH)HGHUDO5XOHVRI$SSHOODWH3URFHGXUH´Microsoft Corp. v. United
   States DOJ1R&-/5:/DW:':DVK$XJsee also
     Skokomish Indian Tribe v. Goldmark1R&-/5:/DW:':DVK
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     QRWSURWHFWWKHH[SRUWRIWHFKQLFDOGDWDDERXWGHIHQVHDUWLFOHVLQFOXGLQJ&$'ILOHVWKDWZRXOG
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     LQGLYLGXDOULJKWRI³ODZDELGLQJUHVSRQVLEOHFLWL]HQVWRXVHDUPVLQGHIHQVHRIKHDUWKDQGKRPH´
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   LQIULQJHPHQWRQWKHFRUH6HFRQG$PHQGPHQWULJKWId.DW³>I@HZODZVLQWKHKLVWRU\RI

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            -XVWLFH6FDOLD¶VPDMRULW\RSLQLRQZHQWRXWRILWVZD\WRH[SODLQWKDWDZLGHDUUD\RI

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     PHDVXUHZRXOGOLNHO\IDOORXWVLGHWKHDPELWRIWKH6HFRQG$PHQGPHQWWKDWLVVXFKD
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     IDPLO\´Id.&RQGXFWWKDWGRHVQRWDIIHFWWKHFRUH6HFRQG$PHQGPHQWFRQFHUQRIVHOIGHIHQVH
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     µLPSRUWDQW¶JRYHUQPHQWREMHFWLYH¶´Id.

     %ULHIRIAmicus Curiae%UDG\&HQWHUWR3UHYHQW*XQ9LROHQFH              *DUYH\6FKXEHUW%DUHU3&
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                      GLVVHPLQDWLRQRIWHFKQLFDOGDWDDERXWILUHDUPVIDOORXWVLGHWKHVFRSHRIWKH
                     6HFRQG$PHQGPHQW
            &RQVLGHULQJ³WKHQRUPDODQGRUGLQDU\´PHDQLQJRIWKHZRUGV³NHHSDQGEHDU´LQWKH
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     6HFRQG$PHQGPHQWWH[WDQGH[FOXGLQJD³VHFUHWRUWHFKQLFDOPHDQLQJ´RIWKHWH[WDV-XVWLFH
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     6FDOLDLQVWUXFWHGLQHellerLWLVDSSDUHQWWKDWWKH6HFRQG$PHQGPHQWGRHVQRWSURYLGHDULJKWWR
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     ³PDQXIDFWXUH´³PDNH´RU³SURGXFH´DILUHDUPRUWR³H[FKDQJH´³WUDQVIHU´RU³GLVVHPLQDWH´
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    WHFKQLFDOGDWDDERXWILUHDUPV²OHWDORQH³H[SRUW´DFRPSXWHUILOHXVHGWR³DXWRPDWLFDOO\´

    PDQXIDFWXUHILUHDUPV7KXVWKH&RXUWQHHGQRWHYHQUHDFKWKHVHFRQGSURQJRIWKHWHVWDSSOLHG

   LQFyockEHFDXVHWKHFRQGXFWFKDOOHQJHGE\''IDOOVRXWVLGHWKHVFRSHRIWKH6HFRQG
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     $PHQGPHQWXQGHUDSODLQODQJXDJHDQDO\VLV
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             7KH³ULJKWVHFXUHGE\WKH6HFRQG$PHQGPHQWLVQRWXQOLPLWHG´Heller 86DW
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     ,IDQ\WKLQJDUHJXODWLRQDIIHFWLQJWKHH[SRUWRIILUHDUPVRUWHFKQLFDOGDWDWKDWFRXOGEHXVHGWR
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     SURGXFHILUHDUPVRUILUHDUPFRPSRQHQWVLVD³ORQJVWDQGLQJSUHVXPSWLYHO\ODZIXOUHJXODWRU\
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   PHDVXUH´WKDWHDVLO\SDVVHVFRQVWLWXWLRQDOPXVWHU,QGHHG-XVWLFH6FDOLDQRWHGLQHellerWKDWWKH

   &RXUW¶VRSLQLRQVKRXOGQRW³EHWDNHQWRFDVWGRXEWRQORQJVWDQGLQJSURKLELWLRQVRQWKH
   SRVVHVVLRQRIILUHDUPVE\IHORQVDQGWKHPHQWDOO\LOO, RUODZVIRUELGGLQJWKHFDUU\LQJRIILUHDUPV
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     LQVHQVLWLYHSODFHVVXFKDVVFKRROVDQGJRYHUQPHQWEXLOGLQJVRUODZVLPSRVLQJFRQGLWLRQVDQG
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     TXDOLILFDWLRQVRQWKHFRPPHUFLDOVDOHRIDUPV.´Id.DWHPSKDVLVDGGHG
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            %RWKWKHFRPPHUFLDOVDOHDQGWKHPDQXIDFWXUHRIILUHDUPVKDYHDORQJVWDQGLQJKLVWRU\RI
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   UHJXODWLRQLQWKH8QLWHG6WDWHV)RULQVWDQFHWKH2PQLEXV&ULPH&RQWURODQG6DIH6WUHHWV$FWRI

   SURKLELWVDSHUVRQIURP³HQJDJ>LQJ@LQWKHEXVLQHVVRILPSRUWLQJPDQXIDFWXULQJRUGHDOLQJ

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     %ULHIRIAmicus Curiae%UDG\&HQWHUWR3UHYHQW*XQ9LROHQFH              *DUYH\6FKXEHUW%DUHU3&
     LQ6XSSRUWRI3ODLQWLIIV¶0RWLRQIRU3UHOLPLQDU\,QMXQFWLRQ            6HFRQG$YHQXHWK)ORRU
     1RFY56/                                                        6HDWWOH:DVKLQJWRQ
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    LQILUHDUPV´XQOHVVDSHUVRQLVD³OLFHQVHGLPSRUWHUOLFHQVHGPDQXIDFWXUHURUOLFHQVHGGHDOHU´

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             7KH1DWLRQDO)LUHDUPV$FWRIDVDPHQGHGE\WKH*XQ&RQWURO$FWRIUHTXLUHV
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     WKDW³>H@DFKPDQXIDFWXUHULPSRUWHUDQGPDNHU>RIILUHDUPV@VKDOOUHJLVWHUHDFKILUHDUPKH
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     PDQXIDFWXUHVLPSRUWVRUPDNHV´86&E7KH$FWDOVRSURYLGHV
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                      1R SHUVRQ VKDOO PDNH D ILUHDUP XQOHVV KH KDV DILOHG ZLWK WKH
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                      6HFUHWDU\DZULWWHQ DSSOLFDWLRQLQ GXSOLFDWH WR PDNH DQG UHJLVWHU
                     WKHILUHDUPRQWKHIRUPSUHVFULEHGE\WKH6HFUHWDU\ESDLGDQ\WD[
                      SD\DEOHRQWKHPDNLQJDQGVXFKSD\PHQWLVHYLGHQFHGE\WKHSURSHU
                     VWDPS DIIL[HG WR WKH RULJLQDO DSSOLFDWLRQ IRUP FLGHQWLILHG WKH
                      ILUHDUPWREHPDGHLQWKHDSSOLFDWLRQIRUPLQVXFKPDQQHUDVWKH
                    6HFUHWDU\PD\E\UHJXODWLRQVSUHVFULEHGLGHQWLILHGKLPVHOILQWKH
                    DSSOLFDWLRQIRUPLQVXFKPDQQHUDVWKH6HFUHWDU\PD\E\UHJXODWLRQV
                      SUHVFULEH H[FHSW WKDW LI VXFK SHUVRQ LV DQ LQGLYLGXDO WKH
                    LGHQWLILFDWLRQPXVWLQFOXGHKLVILQJHUSULQWVDQGKLVSKRWRJUDSKDQG
                      HREWDLQHGWKHDSSURYDORIWKH6HFUHWDU\WRPDNHDQGUHJLVWHUWKH
                    ILUHDUPDQGWKHDSSOLFDWLRQIRUPVKRZVVXFKDSSURYDO$SSOLFDWLRQV
                      VKDOO EH GHQLHG LI WKH PDNLQJ RU SRVVHVVLRQ RI WKH ILUHDUP ZRXOG
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     WKHUHJLVWUDWLRQRIILUHDUPVDQGIRUILUHDUPVPDQXIDFWXUHUVWRDSSO\IRUDQGUHFHLYHDOLFHQVHWR
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   GHIHQGDQW¶VFRQYLFWLRQXQGHU86&NIRUSRVVHVVLRQRIDKDQGJXQZLWKDQREOLWHUDWHG
     VHULDOQXPEHUDQGKROGLQJWKDW³WKHUHLVQRFDWHJRULFDO>6HFRQG$PHQGPHQW@SURWHFWLRQIRU
   XQPDUNHGILUHDUPV´WKDWWKHUHLV³QRFRPSHOOLQJUHDVRQZK\DODZDELGLQJFLWL]HQZRXOGSUHIHU
     DQXQPDUNHGILUHDUP´DQGWKDW6HFWLRQNSDVVHGERWKLQWHUPHGLDWHDQGVWULFWVFUXWLQ\LQ
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     SDUWEHFDXVHWKHVWDWXWH³UHDFKHVRQO\FRQGXFWFUHDWLQJDVXEVWDQWLDOULVNRIUHQGHULQJDILUHDUP
   XQWUDFHDEOH´DQG³GRHVQRWOLPLWWKHSRVVHVVLRQRIDQ\FODVVRIILUHDUPV´United States v.
     Fincher)GWK&LUKROGLQJWKDWGHIHQGDQW¶VSRVVHVVLRQRIDPDFKLQH
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     GHIHQGDQW³KDVQRWGLUHFWO\DWWDFNHGWKHIHGHUDOUHJLVWUDWLRQUHTXLUHPHQWVRQILUHDUPVDQGZH
     GRXEWWKDWDQ\VXFKDWWDFNZRXOGVXFFHHGLQOLJKWRIHeller´

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     LQ6XSSRUWRI3ODLQWLIIV¶0RWLRQIRU3UHOLPLQDU\,QMXQFWLRQ                  6HFRQG$YHQXHWK)ORRU
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    FRQGXFWWKHEXVLQHVVRIPDQXIDFWXULQJDUPV,QGHHG''¶VJRDORIVSUHDGLQJWKHDYDLODELOLW\RI

    FRPSXWHUILOHVFDSDEOHRISURGXFLQJ'SULQWHGILUHDUPVZRXOGXQGHUPLQHWKHLPSRUWDQW
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     REMHFWLYHVRIWKH2PQLEXV&ULPH&RQWURODQG6DIH6WUHHWV$FWWKH1DWLRQDO)LUHDUPV$FWDQG
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            DELGLQJFLWL]HQV´DQGWKXVDUHQRWHQWLWOHGWR6HFRQG$PHQGPHQWSURWHFWLRQ
            7KHIHGHUDOODZDQGUHJXODWLRQVDWLVVXHGRQRWDIIHFWGRPHVWLFFRQFHUQVRIILUHDUP
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     PDQXIDFWXUHGXVLQJ''¶V³WHFKQLFDOGDWD´DOVRSDVVFRQVWLWXWLRQDOPXVWHUEHFDXVH'SULQWHG
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     ILUHDUPVthemselvesDUHQRWHQWLWOHGWR6HFRQG$PHQGPHQWSURWHFWLRQ,QHellerWKH86
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   6XSUHPH&RXUWKHOGWKDWWKH6HFRQG$PHQGPHQWRQO\SURWHFWV³WKHVRUWVRIZHDSRQV´WKDWDUH

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   DELGLQJFLWL]HQVIRUODZIXOSXUSRVHV´id.DW6eeN.Y. State Rifle & Pistol Ass’n, Inc. v.
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     HQWLWOHGWR6HFRQG$PHQGPHQWSURWHFWLRQ
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             5HLQIRUFLQJWKDWWKH6HFRQG$PHQGPHQWGRHVQRWLPEXHDQLQGLYLGXDOULJKWWRRZQRU
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   SRVVHVVZHDSRQV³QRWW\SLFDOO\SRVVHVVHGE\ODZDELGLQJFLWL]HQVIRUODZIXOSXUSRVHV´WKH1LQWK

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   SURWHFWLRQRIWKH6HFRQG$PHQGPHQWId.DW±FLWLQJUnited States v. Henry)G
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     JRYHUQPHQWFRQGXFW1LQWK&LUFXLWFRXUWVZLOOQRWVWDQGLQWKHZD\RISXEOLFVDIHW\UHVWULFWLRQV
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     1RFY56/                                                         6HDWWOH:DVKLQJWRQ
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     WKHUHDUH³PLOOLRQV´LQWKH8QLWHG6WDWHV'SULQWHGILUHDUPVDUHQRWFRPPRQO\XVHGE\WKH
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   $PHULFDQSXEOLF$QGWKHJUHDWHVWSRWHQWLDOXVHIRU'SULQWHGILUHDUPV²ZKLFKFDQEHYLUWXDOO\

   XQGHWHFWDEOH²LVWRDLGFULPLQDODQGWHUURULVWDFWLYLWLHVQRWODZIXOSXUSRVHVVXFKDVVHOIGHIHQVH

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   DQGLI'SULQWHGILUHDUPVDUHPDGHZLGHO\DYDLODEOHWRFULPLQDOVDQGWHUURULVWV'SULQWHG
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     ILUHDUPVZLOODOVRSRVHDJUDYHGDQJHUWRWKHSXEOLF
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     ILUHDUPVRUWRPDQXIDFWXUHILUHDUPV²DQGWKHUHFHUWDLQO\LVQR6HFRQG$PHQGPHQWULJKWWR
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   H[SRUWILUHDUPVRUWHFKQLFDOGDWDDERXWILUHDUPV$QG'SULQWHGILUHDUPVDUHQRWHQWLWOHGWRDQ\

   6HFRQG$PHQGPHQWSURWHFWLRQEHFDXVHWKH\DUHQHLWKHU³LQFRPPRQXVH´QRU³W\SLFDOO\

   SRVVHVVHGE\ODZDELGLQJFLWL]HQV´7RWKHH[WHQWWKDWWKHUHJXODWLRQVDWLVVXHEXUGHQ''¶V
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     1RFY56/                                                        6HDWWOH:DVKLQJWRQ
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     ,,,   7KH8QGHWHFWDEOH)LUHDUPV$FWGRHVQRWDGGUHVV3ODLQWLIIV¶OHJLWLPDWHFRQFHUQVIRU
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   XVHIXOWRWHUURULVWV´LQUHVSRQVHWRJURZLQJFRQFHUQVIRU³µWKHWKUHDWSRVHGE\ILUHDUPVZKLFK

   FRXOGDYRLGGHWHFWLRQDWVHFXULW\FKHFNSRLQWV>@¶´LQFOXGLQJDW³µairports, government buildings,

   prisons, courthouses, [and] the White House.¶´SeeUnited States v. Lopez)G
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